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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                               :                       CHAPTER 11
                                     :
                                   1
BAY CIRCLE PROPERTIES, LLC, et al., :                        CASE NO. 15-58440-wlh
                                     :                       (Jointly Administered)
     DEBTORS.                        :
                                     :
GUY G. GEBHARDT,                     :
ACTING UNITED STATES TRUSTEE, :
                                     :
     MOVANT.                         :
                                     :
-vs-                                 :                       CONTESTED MATTER
                                     :
BAY CIRCLE PROPERTIES, LLC, et al., :
                                     :
     RESPONDENTS.                    :

                          MOTION TO DISMISS OR CONVERT
                       AND REQUEST FOR STATUS CONFERENCE

         COMES NOW Guy G. Gebhardt, Acting United States Trustee for Region 21, pursuant

to 28 U.S.C. § 586(a)(3) and 11 U.S.C. § 1112(b), and respectfully moves this Court to dismiss

or convert this case. In support of this motion, the United States Trustee shows the Court as

follows:

                                                1.

         Debtors BAY CIRCLE PROPERTIES, LLC, et al., (“Debtors”) filed a voluntary petition

for relief under chapter eleven of the Bankruptcy Code on May 4, 2015.

                                                2.

         Cause exists for dismissal because Debtors have not filed any monthly operating reports

covering any periods after March 2017.
1
  The Debtors and the last four digits of their respective taxpayer identification numbers are Bay
Circle Properties, LLC (1578), DCT Systems Group, LLC (6978), Sugarloaf Centre, LLC
(2467), Nilhan Developers, LLC (6335), and NRCT, LLC (1649).

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                                                3.

       An unexcused failure to satisfy timely any filing or reporting requirement established by

this title or by any rule applicable to a case under this chapter is cause to dismiss or convert a

case. 11 U.S.C. § 1112(b)(4)(F).

                                                4.

       The Bankruptcy Code directs the United States Trustee to ensure that all reports,

schedules, and fees required to be filed by a debtor are properly and timely filed, monitor the

progress of the case, and take the necessary action to prevent undue delay in such progress. 28

U.S.C. §§ 586 (a)(3)(D) and (G).

                                                5.

       The United States Trustee for Region 21 has established Operating Guidelines and

Reporting Requirements for Debtors in Possession and Trustees (“the Guidelines”). Every

chapter 11 debtor receives a copy of the Guidelines at the beginning of the case and thereby

receives written notice of the obligation to file monthly operating reports in a timely manner.

The Guidelines explicitly state that compliance is essential and that the debtor’s failure to

comply may result in the United States Trustee filing a motion to dismiss the case.

                                                6.

       Debtors’ failure to timely file the required monthly operating reports is a violation of

Federal Rule of Bankruptcy Procedure 2015 and a violation of 11 U.S.C. § 704(a)(8), made

applicable to a chapter 11 debtor-in-possession by 11 U.S.C. §§ 1106(a)(1) and 1107(a).



                                                7.



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       “Timely and accurate financial disclosure is the lifeblood of the Chapter 11 process.” In

re Tornheim, 181 B.R. 161, 164 (Bankr. S.D.N.Y. 1995). Monthly operating reports are not

mere busywork; they are the means by which the United States Trustee is able to make an

independent assessment of a debtor’s current financial condition and its prospects for

reorganization. Id.

                                              8.

       The United States Trustee should not be forced to implore a chapter 11 debtor to file

monthly operating reports in a timely manner. In re McClure, 69 B.R. 282, 290 (Bankr. N.D.

Ind. 1987).




       WHEREFORE, the Acting United States Trustee respectfully requests that this Court

dismiss or convert this case, and convene a status conference on Thursday, November 30, 2017

at 1:30 PM.

                                                   GUY G. GEBHARDT
                                                   ACTING UNITED STATES TRUSTEE
                                                   s/ Thomas W. Dworschak
                                                   Thomas W. Dworschak
                                                   Trial Attorney
                                                   Georgia Bar No. 236380

United States Department of Justice
Office of the United States Trustee
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Atlanta, Georgia 30303
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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                              :                      CHAPTER 11
                                    :
BAY CIRCLE PROPERTIES, LLC, et al., :                      CASE NO. 15-58440-wlh
                                    :                      (Jointly Administered)
     DEBTORS.                       :
                                    :
GUY G. GEBHARDT,                    :
ACTING UNITED STATES TRUSTEE, :
                                    :
     MOVANT.                        :
                                    :
-vs-                                :                      CONTESTED MATTER
                                    :
BAY CIRCLE PROPERTIES, LLC, et al., :
                                    :
     RESPONDENTS.                   :

                                   NOTICE OF HEARING

      PLEASE TAKE NOTICE that the United States Trustee has filed a Motion to Dismiss or
Convert.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the United
States Trustee’s Motion in Courtroom 1403, United States Courthouse, 75 Ted Turner Drive,
S.W., Atlanta, Georgia at 1:30 p.m. on Thursday, November 30, 2017.

        Your rights may be affected by the court’s ruling on this pleading. You should read the
motion carefully and discuss it with your attorney, if you have one in this bankruptcy case. (If
you do not have an attorney, you may wish to consult one.) If you do not want the court to grant
the relief sought in the motion or if you want the Court to consider your views, then you or your
attorney must attend the hearing.

        You may also file a written response to the motion with the Clerk of the Bankruptcy
Court, but you are not required to do so. Mail or deliver your response so that it is received by
the Clerk at least two business days before the hearing. The address of the Clerk’s office is
Clerk, United States Bankruptcy Court, Suite 1340, Richard Russell Building, 75 Ted Turner
Drive, SW, Atlanta, Georgia 30303. If you file a written response, you must attach a certificate
stating when, how, and on whom (including addresses) you served the response. You must mail
a copy of your response to the Office of the United States Trustee at Suite 362, Richard Russell
Building, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303.




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Date: November 1, 2017
                                              Prepared and Served by:

                                              /s/ Thomas W. Dworschak
                                              Thomas W. Dworschak, Trial Attorney
                                              Georgia Bar No.: 236380
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                                CERTIFICATE OF SERVICE

       I hereby certify on November 1, 2017, I caused a copy of the attached Notice of Hearing

and the United States Trustee’s Motion to Dismiss or Convert to be sent by first class United

States mail, properly addressed and with correct postage to the following:

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                                                  /s Thomas W. Dworschak




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